Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 1 of 10 PageID #: 252




                      United District Court Eastern District Of New York
  Daniel Moyle, et al.,                               Index Number: 1:24-cv-03880
                                 Plaintiff,
                                                      Affirmation In Opposition To
                                                      Defendant’s Motion To Dismiss
                 ~against~                            And In Support Of Plaintiffs’
                                                      Cross-Motion For Extension
  United Parcels Service, Inc. et al.,                Of Time To Server Complaint
                                                      On Defendants United Parcels
                                 Defendants.          Service, Inc.


        Tyrone A. Blackburn, Esq., an attorney duly admitted to practice law before the Courts of
 this State, does hereby affirm the truth of the following statements, under penalty of perjury, and
 according to CPLR § 2106:
 1. I am the Founder of the law firm T. A. Blackburn Law, PLLC., attorneys for Plaintiffs Daniel
    Moyle, Roy Welsh, Carlos Palaguachi, Robert Santiago, Ahmed Radwan, Tyler Lilly, Travis
    Steele, and Warren Payne ("Plaintiffs") in the above-captioned proceeding.
 2. I submit this affirmation in opposition to the motion by defendant United Parcels Service, Inc.,
    which seeks to dismiss Plaintiff's Complaint with prejudice according to CPLR § 3211(a)(5)
    and CPLR § 205(a), as well as in support of Plaintiffs' cross-motion for an extension of time
    to serve their complaint on Defendants United Parcels Service.
 3. It is important to note that the Plaintiff's complaint was timely served within 120 days as
    required by CPLR § 306-b.
                                BACKGROUND FACTS
 4. On or about March 18, 2020, Daniel Moyle, Roy Welsh, Fari Murray, Carlos Palaguachi,
    Robert Santiago, Ahmed Radwan, Tyler Lilly, Travis Steele, and Warren Payne (collectively,
    the “Murray Plaintiffs"), filed an action in the United States District Court for the Eastern
    District of New York, entitled Murray, et al. v. UPS, et al., Docket No. 1:20-cv-1427 (the "First
    Federal Court Action").
 5. Plaintiff incorporates by reference the Declaration of Defendant counsel, Leslie A. Lejawski,
    Esq. (“Lejawski Decl.”). Specifically, Plaintiff incorporates by reference the First Federal
    Court Action. Lejawski Decl., attached at Ex. A, ¶ 3.
 6. On October 26, 2023, the First Federal Court Action was dismissed without prejudice.
    Lejawski Decl., Order of Dismissal at Ex. B.

                                                 1
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 2 of 10 PageID #: 253




 7. According to CPLR § 205(a), the Murray Plaintiffs had six months to refile their claims.
 8. Therefore, Plaintiff’s deadline to re-file the Complaint was April 26, 2024. The Plaintiffs filed
    the instant action (the "State Court Action") on January 28, 2024.
 9. On February 12, 2024, I contacted Leslie Lejawski, counsel for United Parcel Service, and
    Laura Watanabe, counsel for William Grey and Lloyd Hall (“the individual defendants”). I
    informed the defendants that the lawsuits for the Murray Plaintiffs were filed.
 10. I asked them if they would waive the service of process, as it would be the decent thing to do
    since the parties had been in litigation for close to five years and were well-versed in all of the
    Plaintiffs’ claims after they lost several motions to dismiss in the Eastern District of New York
    (See Exhibit 1).
 11. To her credit, Ms. Lejawski immediately responded and said she would speak with her client.
    (See Exhibit 2).
 12. Unfortunately, Ms. Watanabe did not respond.
 13. On February 21, 2024, Ms. Lejawski informed me that her client had not allowed her to accept
    service. (See Exhibit 3). Ms. Watanabe did not respond.
 14. Unfortunately, of the six lawsuits filed, at least three had clerk errors.
 15. Unfortunately, the King County Clerk's office made an error docketing Tyler Lilly and Travis
    Steele’s lawsuits. (See Exhibit 4).
 16. It took an unanswered email, several unanswered phone calls, several unreturned voice
    messages, and in-person visits to the Kings County Court Clerk’s Office to have them correct
    the docketing error.
 17. On April 5, 2024, I hired We Serve Law, a subsidiary of Lexitas, to serve the Defendants with
    five complaints to their New York State agent located at C/O Corporation Service Company
    at 80 State Street, Albany, NY 12207. (See Exhibit 5).
 18. Unfortunately, the clerk's office still had a docketing error for Tyler Lilly’s complaint, which
    was finally corrected on June 12, 2024. (See Exhibit 6).
 19. I paid We Serve Law an additional $100.00 for priority service. (See Exhibit 7).
 20. With priority service, the documents were to be delivered by April 7, 2024. We Serve Law
    confirmed receipt of my order and payment and advised that the document was dispatched for
    service. (See Exhibit 8).



                                                    2
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 3 of 10 PageID #: 254




 21. The only thing I was waiting for was the affidavit of service, which would have been mailed
    to me once the process server had notarized it.
 22. On May 1, 2024, I sent a courtesy email to Ms. Lejawski and Ms. Watanabe, informing them
    that their client had not appeared in the case and that the Plaintiff would move for default
    judgment if they did not. (See Exhibit 9).
 23. I then emailed We Serve Law asking for the affidavit with the intention of filing a motion for
    default in Kings County State Court (See Exhibit 10).
 24. I received an affidavit from We Serve Law via email on May 2, 2024. (See Exhibit 11).
 25. I assumed the affidavit of service was incorrect as it was not notarized, and the date of service
    was wrong. We Serve Law made me believe that the date of service was supposed to be April
    7, 2024.
 26. I called We Serve Law for an explanation, as it was customary for a process server to take time
    to mail the affidavits, and many times, there are errors on the affidavits that require corrections.
 27. We Serve Law advised they would contact the process server and inquire about the validity of
    the affidavit. At that time, I learned for the first time that We Serve Law hired a third party to
    execute the service.
 28. The defendants appeared in the cases on May 30, 2024, and moved to transfer this case to the
    Eastern District of New York.
 29. It was not until June 3, 2024, that I learned that this case was served on May 2, 2024, and not
    April 7, 2024, as We Serve Law had led me to believe.
 30. I contacted We Serve Law for an explanation, and they provided an affidavit. (See Exhibit
    12).
                                        ARGUMENT
 Defendants Motion to Dismiss Plaintiffs’ Complaint Should Be Denied and Plaintiffs Cross-
                 Motion For An Extension Of Time To Serve His Complaint
                            On Defendants Should Be Granted
 31. According to CPLR § 306-b, in relevant part, service of the Summons and Complaint “shall
    be made within one hundred twenty days after the commencement of the action or
    proceeding…[i]f service is not made upon a defendant within the time provided in this section,
    the court, upon motion, shall dismiss the action without prejudice as to that defendant, or upon
    good cause shown or in the interest of justice, extend the time for service.”




                                                   3
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 4 of 10 PageID #: 255




 32. Plaintiffs May 2, 2024, service of the summons and complaint was timely according to CPLR
     § 306-b.
 33. In a companion action for Fari Murray currently pending in Kings County Supreme Court, in
     their motion to dismiss 1 , Defendants concede that this Court has the power to extend the
     deadline for Plaintiff to perfect service of the summons and complaint (which Defendants
     acknowledged was completed on May 2, 2024, a mere five days after the CPLR § 205(a)
     deadline but was timely pursuant to CPLR § 306-b), if Plaintiff can demonstrate “good cause.”
     Conveniently, Defendant omitted the part of the statute that states, "or in the interest of justice."
 34. Many courts in this state have extended the time to perfect the service of process when the
     Plaintiff filed and attempted to perfect it in a timely manner, but due to the process server’s
     negligence or deception, the service of process was not perfected properly.
 35. In Murphy v. Reuben Hoppenstein, M.D., 279 A.D.2d 410, 720 N.Y.S.2d (1st Dept. 2001), the
     Court denied the Defendant’s motion to dismiss and granted the plaintiff cross-motion for an
     extension of time to re-serve under CPLR § 306-b. The Court reasoned that the Plaintiff acted
     reasonably diligent in attempting to effect service.
 36. Murphy supports Plaintiffs’ position and states that an extension of the CPLR § 306-b 120-day
     period to effect service “should be liberally granted whenever plaintiffs have been reasonably
     diligent in attempting service… regardless of the expiration of the Statute of Limitations after
     filing and before service.” (Murphy at 63 quoting Mem. Of Off. Of Ct. Admin. #97-67R,
     1997 N.Y. Legis, Ann, at 319; see also, Griffin v. Our Lady of Mercy Med. Ctr., 276 A.D.2d
     391 (1st Dept. 2000).
 37. The express language of CPLR § 306-b gives the Court two options: dismiss the action without
     prejudice or extend the time for service in the existing action.
 38. Leader v. Maroney, Ponzini & Spencer, 97 N.Y.2d 95, 761 N.E.2d 1018 (2001) is the seminal
     case in this matter wherein the Court of Appeals elaborated that CPLR § 306-b is comprised
     of two separate grounds for extensions; “good cause” and “in the interest of justice,” which are
     defined but separate criteria.



 1
  The Defendants filed a Motion to Dismiss the State Complaint for Fari Murray on May 30, 2024. Ironically, they
 did not see fit to move Mr. Murrays complaint to Federal Court, as they did with Mr. Moyles case. Presumably
 because Judge Margo Brodie dismissed with for lack of subject matter jurisdiction. This is further evidence of
 Defendants bad faith removal.

                                                       4
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 5 of 10 PageID #: 256




 39. When requesting an extension based on "good cause," a plaintiff must show that failure to
    serve the process in a timely manner was a result of exceptional circumstances beyond his
    control. (see State v. Stella, 185 Misc.2d 549, 713 N.Y.S.2d 262 (2000)). On the contrary, an
    extension in the “interest of justice” is much broader and flexible. The broad flexibility was a
    specific mandate of the legislature in order to bring the New York law in line with its federal
    counterpart Fed. R. Civ P. 4(m). (see Leader at 105). Furthermore, while the "good cause"
    prong requires a finding of reasonably diligent efforts on the Plaintiff, such reasonable
    diligence need not be proven for an extension request premised on the "interest of justice"
    prong. Id at 104.


        a. Extension in the “Interest of Justice”
 40. Even in cases where a Plaintiff fails to act reasonably diligent in attempting to effect proper
    service of process, thus failing to establish “good cause,” courts may nevertheless grant such
    a plaintiff’s extension of time to effect proper service in the “interest of justice.” (see e.g.,
    Moundrakis v. Dellis, 96 A.D.3d 1026, 947 N.Y.S.2d 575 (2d Dept. 2012)).
 41. The New York State Bar Association Commercial and Federal Litigation Section Committee
    on Civil Practice Law and Rules has explicitly characterized the interest of justice standard as
    broader and more flexible than the good cause standard. Specifically, “CPLR § 306-b provides
    for an additional and broader standard, i.e., the ‘interest of justice,’ to accommodate late
    service that might be due to mistake, confusion, or oversight, so long as there is no prejudice
    to the defendants.” (Henneberry v. Borstein, 91 A.D.3d 493, 937 N.Y.S.2d 177, 180 (1st Dept.
    2012) citing Leader at 104-105).
 42. In Leader, the Court of Appeals set forth factors a court may consider in determining whether
    to grant a plaintiff’s motion for an extension in the interest of justice.” “[T]he court may
    consider diligence, or lack thereof, along with any other relevant factor in making its
    determination, including expiration of the State of Limitations, the meritorious nature of the
    cause of action, the length of delay in service, the promptness of a plaintiff’s request for the
    extension of time, and prejudice to the defendant.” Leader at 105-106.
 43. Additional factors that courts have held in favor of an extension include timely service within
    the 120 days allowed by CPLR § 306-b, which was later found to be defective and the fact that
    defendants had actual notice of the claim and/or of the action. See Chiaro v. D’Angelo, 7


                                                 5
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 6 of 10 PageID #: 257




    A.D.3d 746, 776 N.Y.S.2d 898; Rosenzweig v. 600 North Street, LLC., 35 A.D.3d 705, 826
    N.Y.s.2d 68- (2d Dept. 2006).
 44. Here, I was diligent in providing Defendants with notice of the litigation. I was diligent in
    submitting the lawsuit for service of process and paid an additional $100 for expedited 3-day
    service more than 21 days before the expiration of the statute of limitations. I was made to
    believe by We Serve Law that the complaint was dispatched for service on April 5, 2024, and
    was served on April 7, 2024. I was made to believe that the affidavit of service would be
    notarized, signed, and mailed to my office.
 45. I was so confident that service had been completed that I emailed the defendants to let them
    know their answer in the complaint was late and that I was preparing to file a motion for default
    judgment.
 46. I only learned that the service process was not completed in time upon receiving the instant
    motion on June 3, 2024. Conveniently absent from the Defendants' motion papers is the fact
    that they had actual notice of this lawsuit in February and intentionally refused to waive service
    of process, causing the Plaintiff to incur the unnecessary cost of paying for service of process.
 47. Courts have held that “granting plaintiff the opportunity to pursue this action is not consistent
    with the ‘interest of justice’ exception set forth in CPLR § 306-b, but also with our strong
    interest in deciding cases on the merits where possible.” Henneberry at 181.
 48. The Court of Appeals granted an extension of time according to the interest of justice standard
    in Scarabaggio v. Olympia & York Estates, Leader v. Maroney. Leader at 102.
 49. In Scarabaggio, the Plaintiff's attorney hired a process server, who unsuccessfully attempted
    to serve the Defendant and subsequently failed to notify the Plaintiff that the Defendant
    relocated and that service was not made. The Plaintiff's attorney proceeded with the actions
    as if service had been made, and the Plaintiff made a motion for an extension of time to serve
    according to CPLR § 306-b one month after the 120 days expired. Id.
 50. In McKenny v. Beth Abraham Family of Health Services, 2011 WL 11024955 (N.Y. Sup.),
    2011 N.Y. Slip Op. 33711(U), the plaintiffs served the Defendant within the 120-day time
    period; however, the plaintiffs' counsel became aware that such service was improper only
    when the Defendant moved to dismiss the case. Upon learning the same, the plaintiffs cross-
    moved for an extension of time to serve process. The Court granted the plaintiffs' motion,
    relying on the factors set forth in Leader, particularly emphasizing that the Statute of

                                                  6
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 7 of 10 PageID #: 258




    Limitations had expired, that the Plaintiff had a meritorious action, and that there was no
    evidence indicating the Defendant had been prejudiced. Specifically, the Court found that the
    Defendant failed to establish that "as a result of the plaintiff’s failure to properly serve it timely
    of plaintiff delay in seeking an extension, the defendant has lost some special right, or incurred
    some change of position or some significant expense.” Id. (See also, Sutter v. Reyes, 60
    A.D.3d 448 (1st Dept. 2009).
 51. In Lippett v. Education Alliance, 14 A.D.3d 430, 789 N.Y.S.2d 11 (1st Dept. 2005), the Plaintiff
    made a good faith effort in serving the Defendant, and the Defendant received actual notice of
    the claim within the 120-day period and before the expiration of the statute of limitations on
    the negligence claims. However, upon being alerted to the service being defective, the Plaintiff
    did not attempt to re-serve the Defendant. The Court granted the Plaintiff's motion for an
    extension of time, irrespective of the fact that the Plaintiff made no effort to re-serve the
    Defendant. The Court reasoned that the Plaintiff's failure in attempting to re-serve the
    defendant "upon receiving its answer alerting counsel to the problem with service should not
    preclude an extension in the interest of justice, particularly where the defendant received actual
    notice of the action and shows no prejudice from the delay and the statute of limitations expired
    in the interim." Id. at 12.
 52. In Rochester v. Cnty. of Nassau, No. 611519/2019, 2021 N.Y. Misc. LEXIS 58094, at *14-
    16 (Sup. Ct. August 27, 2021, an action brought under CPLR §205 [a] can receive from the
    Court an extension of time to serve the defendants under CPLR 306-b. (See Marinelli v
    Sroka, 8 Misc. 3d 863, 866 [Sup Ct, Nassau County 2005] (“the Court determines that late
    service can be excused in a § 205(a) action as it can in seminal actions in the interest of
    justice.”). Under all of the circumstances presented, and considering the nature of the claims
    and the fact that McCarthy has already been a defendant in the Federal Action based on the
    same claims, the Court is satisfied that the Plaintiff has satisfied both the "good cause" and
    "interest of justice" standards set forth in CPLR § 306-b. Rochester v. Cnty. of Nassau, No.
    611519/2019, 2021 N.Y. Misc. LEXIS 58094, at *14-16 (Sup. Ct. August 27, 2021).
 53. Here, just like in Rochester, the Defendants have already been defendants in the Federal Action
    based on the same claims. Defendants, like the Defendant in Lippett, received actual notice of
    the action and, like the Defendant in McKenney, have failed to show prejudice from the delay



                                                    7
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 8 of 10 PageID #: 259




    in service. As detailed in Exhibit 1, I provided the Defendant’s counsel with a copy of the
    filed summons and complaint and asked her if her client would waive service of process.
 54. It is important to note that the Defendant’s counsel conveniently left out of her letter, motion,
    and affidavit that she was notified of the summons and complaint via email.
 55. It is important to note that in the affidavit of the Defendant's counsel and the Defendant's
    motion papers, the Defendants did not argue that due to the Plaintiff's failure to timely serve,
    the Defendants lost some special right, incurred some change in position, and/or incurred some
    significant expense.
 56. Furthermore, the Plaintiff's action is meritorious, as evidenced by the 58-page opinion of
    Eastern District of New York Chief Judge Margo Brodie denying the Defendant's motion to
    dismiss the Plaintiff's complaint (See Exhibit 13). The Defendants' moving papers are void
    of any attempt to dispute this fact.
 57. Unfortunately, despite the timely commencement of the action with the filing of the Summons
    and Complaint, the plaintiff's claims against the Defendants would be extinguished without an
    extension of time to re-serve pursuant to CPLR § 205(a). This is even though the summons
    and complaint were timely served pursuant to CPLR § 306-b.
 58. Despite the current untimely status of the Plaintiff's causes of action, according to the Leader
    factors, courts typically find that the expiration of the Statute of Limitations strongly supports
    granting a plaintiff’s motion for an extension of time. (See, e.g., Beauge v. New York City
    Transit Authority, 282 A.D.2d 416, 722 N.Y.S.2d 402 (2d Dept. 2001)).
 59. Plaintiffs have met all of the Leader factors, and accordingly, in the interest of justice,
    Defendants’ motion to dismiss should be denied. Similarly, the Plaintiffs’ cross-motion for an
    extension of time to serve the Summons and Complaint pursuant to CPLR § 205(a) on
    Defendants should be granted.
 60. Specifically, the statute of limitations on the Plaintiffs’ claims has expired pursuant to CPLR
    § 205(a), Plaintiff has a meritorious cause of action, the defendants have failed to indicate it
    will be prejudiced in any way if the Plaintiff has the opportunity to perfect service of process,
    Plaintiff was diligent in hiring a licensed process server to serve the defendants with the 120-
    day period required by CPLR § 306-b, and paid additional money to perfect service within
    three days, plaintiffs' counsel was made to believe that service of the summons and complaint
    was timely served on the defendants on April 7, 2024, the Plaintiff emailed the Defendant

                                                  8
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 9 of 10 PageID #: 260




    counsel a copy of the filed summons and complaint, defendants participated in and were very
    aware of the claims in Plaintiff’s complaint from the lawsuit that was filed in Federal court,
    and Plaintiff made the instant cross-motion as soon as they learned service on defendants was
    defective.
 61. Ultimately, because the defendants already had notice of the suit, they suffered no prejudice,
    and the Plaintiff was granted an extension of time to re-serve his complaint. However, denying
    the Plaintiffs' cross motion would cause the Plaintiff the ultimate prejudice: his action would
    be barred by the statute of limitations. Such a result would create a boon for the defendants
    and a hardship for the Plaintiff.


         a. Extension for “Good Cause”
 62. In the alternative, should this Court not deny the defendants' motion and grant the Plaintiffs'
    cross-motion in the "interest of justice," the Plaintiffs have acted reasonably diligently in
    attempting to serve the defendants with the process, thus warranting extension under the "Good
    cause" standard.
 63. The “good cause” standard requires “a showing of reasonable diligence in attempting to effect
    service upon a defendant.” Henneberry at 180. "[G]ood cause may be found to exist where the
    Plaintiff's failure to timely serve prices is a result of circumstances beyond the Plaintiff's
    control. (internal citation omitted) Bumps v. New York City Transit Authority, 66 A.D.3d 26,
    833 N.Y.S.2d 99, 105 (2d Dept. 2009).
 64. As previously stated, Plaintiff hired a national process-serving company, We Serve Law, to
    serve the Defendants via C/O Corporation Service Company at 80 State Street, Albany, NY
    12207.
 65. Plaintiffs’ Counsel, Tyrone Blackburn, was made to believe and reasonably believed the
    parties in this action were properly and timely served with process because he hired a process
    server licensed by the State of New York to serve the defendants.
 66. Ultimately, the Defendants received actual notice of the instant action via email on February
    12, 2024. I emailed a copy of the summons and complaint and requested that they waive
    service of process.
 67. The Plaintiff was unaware that the service was defective until they received the Defendant's
    motion to dismiss on June 3, 2024.


                                                 9
Case 1:24-cv-03880-LDH-LKE Document 8-1 Filed 06/19/24 Page 10 of 10 PageID #: 261




  68. Upon learning of the defective service of May 2, 2024, Plaintiff was unable to reserve
     defendants before the 6-month period for service according to CPLR § 205(a). It is important
     to note that the May 2, 2024, service was timely according to the 120-day period for service
     under the CPLR § 306-b.
  69. The Defendants are relying on CPLR § 205(a) to escape liability for their actions, completely
     disregarding the fact that they were timely served according to CPLR § 306-b.
  70. Defendants are correct that Plaintiff's underlying claims are time-barred. Thus, Plaintiff acted
     reasonably diligent in pursuing his only option by opposing the instant motion and cross-
     moving for an extension of time to serve the complaint under CPLR § 205(a), even though
     Defendants were timely served according to CPLR § 306-b despite the fact that they
     intentionally and inexplicably denied plaintiffs reasonable request to waive service of process.
  71. Wherefore, it is respectfully requested that the Defendant's motion to dismiss be denied in its
     entirety, that Plaintiff’s cross-motion for an extension of time to serve the Summons and
     Complaint on the Defendants be granted, and that the Court grant such other and further relief
     may be just, proper, and equitable.

  Dated: Brooklyn, New York

  June 18, 2024
                                                                   By: Tyrone A. Blackburn, Esq.

                                                                ______/s/ Tyrone Blackburn_____
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                                                  10
